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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

      MARY ANN HIDALGO, on behalf of                )
      herself, and all other plaintiffs similarly   )   No. 18 cv
      situated, known and unknown,                  )
                                                    )
                        Plaintiff,                  )   Honorable Judge
                                                    )
                            v.                      )   Magistrate Judge
                                                    )
      JKAT, LLC D/B/A/ THE GODDARD                  )
      SCHOOL FOR EARLY CHILDHOOD                    )
      DEVELOPMENT - CHICAGO                         )   JURY DEMAND
                                                    )
                       Defendant.                   )

                                             COMPLAINT

          NOW COMES Plaintiff, MARY ANN HIDALGO ,on behalf of herself and all other

Plaintiffs similarly situated, by and through their attorney, JOHN W. BILLHORN, and for her

Complaint against Defendant, JKAT, LLC D/B/A/ THE GODDARD SCHOOL FOR EARLY

CHILDHOOD DEVELOPMENT - CHICAGO, states as follows:


I.        NATURE OF ACTION
          1. This action is brought under the Fair Labor Standards Act, 29 U.S.C. §201, et seq.,

the Portal-to-Portal Act, 29 U.S.C. §251 et seq., the Illinois Minimum Wage Law, 820 ILCS

§105/1 et seq. and the Chicago Minimum Wage Ordinance (“CMWO”), § 1-24-10 of the

Municipal Code of Chicago.

II.       JURISDICTION AND VENUE

          2. Jurisdiction arises under the provisions of the Fair Labor Standards Act, 29 U.S.C.
§§ 206-207, the Portal-to-Portal Act, 29 U.S.C. §251 et seq., and for the supplemental Illinois

statutory claim and municipal claim, pursuant to 28 U.S.C. §1367. Venue lies in the Northern
District of Illinois in that during all times relevant to the employment relationship, Plaintiff
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performed work in this district and is a resident of this district and Defendant is or was

engaged in business in this district.

III.    THE PARTIES


        3.   Defendant, JKAT, LLC         D/B/A/    THE GODDARD SCHOOL            FOR   EARLY

CHILDHOOD DEVELOPMENT – CHICAGO (herein referred to as “Defendant”), provides

childcare and pre-school teaching services. Defendant, JKAT, LLC D/B/A/ THE GODDARD

SCHOOL FOR EARLY CHILDHOOD DEVELOPMENT - CHICAGO, is an “enterprise” engaged in

commerce or in the production of goods for commerce within the meaning of Section 29

U.S.C. §203(s)(1)(A)(i) and based upon information and belief formed after reasonably

inquiry, satisfies the minimum annual gross sales dollar amount required by 29 U.S.C.

§203(s)(1)(A)(ii). During all relevant times, Defendant was acting directly or indirectly in the

interest of the employer in relation to the employee Plaintiffs and therefore, as defined under

both the federal and state statutes relied upon, is an “employer.”

        4. Plaintiff, MARY ANN HIDALGO (hereinafter referred to as “Plaintiff”), is a former

employee who performed childcare and teaching services under the direction of Defendant’s

management and who was compensated as a salary-exempt employee and denied overtime

compensation for hours worked in excess of 40 in a workweek. All other unnamed Plaintiff

known and unknown (hereinafter referred to as “members of the Plaintiff Class” or “similarly

situated Plaintiffs”), are past or present employees who work or worked for Defendant and

were improperly classified as salary exempt and denied overtime for work in excess of 40

hours in a work week. As an employee performing duties for an enterprise engaged in

commerce, the named Plaintiff and all members of the Plaintiff Class were also engaged in

commerce as defined by the FLSA.

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       5. The claims brought herein by the named Plaintiff is identical or similar to the

claims of other past and present employees who were subject to the non-compliant policies

and practices alleged herein – namely the misclassification as “salary-exempt”. Those past

and present employees are entitled to receive Notice of these proceedings and afforded

opportunity to join their individual claims.

       6. The total amount of hours worked by Plaintiff and members of the Plaintiff Class,

and therefore the total number of overtime hours for which additional compensation is owed,

is information that is substantially, if not completely, within the control and possession of

Defendant, in that Defendant recorded or should have recorded such hours pursuant to the

record keeping requirements found Title 29 CFR, Part 516.


IV.    STATUTORY VIOLATIONS

       Collective Action Under The Fair Labor Standards Act

       7. Pursuant to the Fair Labor Standards Act, 29 U.S.C. §216(b), Count I of this action

is brought by Plaintiff as an opt-in representative or collective action, on behalf of herself and

other Plaintiffs similarly situated who have been damaged by Defendant’s failure to comply
with 29 U.S.C. §201 et seq. and §251 et seq. Count II alleges a willful violation of the FLSA

and seeks an additional third year of limitations. Count III seeks liquidated damages under

the Fair Labor Standards Act, Section 260.

       Illinois Minimum Wage Law
       8. Pursuant to the Illinois Minimum Wage Law, 820 ILCS §105/1 et seq., Count IV

of this action is brought by Plaintiff to recover unpaid back wages earned on or before the date

three (3) years prior to the filing of this action. Each and every Plaintiff who joins this case

in the future shall specifically adopt and assert the claims made under this Count IV.




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       Chicago Minimum Wage Ordinance

       9. Pursuant to the Chicago Minimum Wage Ordinance (“CMWO”), § 1-24-10 of the

Municipal Code of Chicago, Count V of this action is brought by Plaintiff to recover unpaid

back wages earned on or before the date three (3) years prior to the filing of this action. Each

and every Plaintiff who joins this case in the future shall specifically adopt and assert the

claims made under this Count V.


V.     FACTUAL ALLEGATIONS RELEVANT TO ALL COUNTS

       10.    Plaintiff, at all times pertinent to the cause of action, was employed by

Defendant, said employment being integral and indispensable to Defendant’s business.

       11.    During Plaintiff’s employment, Defendant paid Plaintiff on an exempt salary

compensation plan. The job duties of Plaintiff, and other members of the Plaintiff class who

were similarly classified, did not and do not qualify under any of the salary exemptions

established by the FLSA.

       12. Plaintiff, and members of the Plaintiff class, worked in excess of forty (40) hours

in a workweek without pay for all hours worked over forty (40) at a rate of time and one-half

their regular hourly rate of pay, pursuant to the requirements of the federal and state statutes

herein relied upon.

       13. Defendant has, both in the past and presently, willfully employed members of the

Plaintiff Class, including the named Plaintiff, requiring work to be performed before and after

her scheduled work day to accommodate the demands of child care.

       14. In some instances, the unpaid time worked by Plaintiff and members of the

plaintiff class should have been compensated at time and one-half the employee’s regular

hourly rate because if the unpaid time was properly treated as compensable, Plaintiff would


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have worked over 40 hours in particular workweeks. In other instances, the unpaid time

should have compensated at the Plaintiff’s regular hourly rates.

                                          COUNT I


                    VIOLATION OF FAIR LABOR STANDARDS ACT

       1-14. Paragraphs 1 through 14 are re-alleged and incorporated as though set forth fully

herein as paragraphs 1 through 14 of this Count I.
       15.    Pursuant to the Fair Labor Standards Act, 29 U.S.C. §201 et seq., and the Portal-

to-Portal Act, 29 U.S.C. §251 et seq., the named Plaintiff, and all other Plaintiffs similarly

situated, known and unknown, are entitled to compensation for all hours worked

and compensation at a rate not less than one and one-half times the regular rate of pay for all

hours worked in excess of forty (40) hours, in any week during the two (2) years preceding

the filing of this action.

        16. Defendant has during certain times relevant hereto failed and refused to pay

compensation to their employees, including the named Plaintiff herein, and all other Plaintiffs

similarly situated, known and unknown, as described above.

       WHEREFORE, Plaintiff, on behalf of themselves and all other Plaintiffs similarly

situated, known and unknown, respectfully requests this Court to enter an order:

        (a)     awarding back pay equal to the amount of all unpaid overtime compensation
for the two (2) years preceding the filing of this Complaint, according to the applicable statute
of limitations;

       (b)  awarding prejudgment interest with respect to the total amount of unpaid
overtime compensation;

      (c)    awarding Plaintiff’s reasonable attorney’s fees and costs incurred as a result of
Defendant’s violations of the Fair Labor Standards Act; and,

      (d)    for such additional relief as the Court deems appropriate under the
circumstances.




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                                           COUNT II

         WILLFUL VIOLATION OF THE FAIR LABOR STANDARDS ACT

       1-16 Paragraphs 1 through 16 of Count I are realleged and incorporated as though set

forth fully herein as Paragraphs 1 through 16 of Count II.

       17.   Defendant’s actions as complained of above were done with Defendant’s

knowledge that the compensation policies and practices at issue were in violation of the

statutes alleged, or with a reckless disregard for whether or not the policies and practices were

in violation of those statutes. Through legal counsel as well as industry experience and

custom, Defendant possessed ample access to the regulations and statutory provisions relating

to salary classification under the state and federal laws recited herein, but either failed to seek

out such information and guidance or did seek out the information and guidance but failed to

adhere to the principles of compliance as stated.

       18.    Pursuant to the Fair Labor Standards Act, Plaintiff and all other employees

similarly situated, past or present, are entitled to compensation at a rate not less than one

and one-half times their regular rate of pay for all hours worked in excess of forty (40), in the

three (3) years preceding the filing of this complaint.

       WHEREFORE, Plaintiff, on behalf of themselves and all other Plaintiffs similarly

situated, known and unknown, respectfully requests this Court to enter an order:

       (a)    awarding back pay equal to the amount of all unpaid compensation for one (1)
additional year, totaling three (3) years preceding the filing of this Complaint;

     (b)    awarding prejudgment interest with respect to the amount of unpaid overtime
compensation;




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        (c)    awarding Plaintiff’s reasonable attorney’s fees and Court costs incurred as a
result of Defendant’s violation of the Fair Labor Standards Act; and

       (d) for such additional relief the Court deems appropriate under the circumstances.



                                         COUNT III

                           LIQUIDATED DAMAGES
                    UNDER THE FAIR LABOR STANDARDS ACT


       1-18. Paragraphs 1 through 18 of Count II are re-alleged and incorporated as though

set forth fully herein as Paragraphs 1 through 18 of Count III.

       19.    In denying the named Plaintiff and members of the Plaintiff Class

compensation as described above, Defendant’s acts were not based upon good faith or

reasonable grounds. Through legal counsel as well as industry experience and custom,

Defendant possessed ample access to the regulations and statutory provisions relating to

salary classification under the state and federal laws recited herein, but either failed to seek

out such information and guidance or did seek out the information and guidance but failed to

adhere to the principles of compliance as stated.

       20.    The named Plaintiff and all other past and present employees similarly situated,

known and unknown, are entitled to liquidated damages equal to the amount of all unpaid
compensation, pursuant to 29 U.S.C. §260.

       WHEREFORE, Plaintiff, on behalf of themselves and all other Plaintiffs similarly

situated, known and unknown, respectfully requests this Court to enter an order:


       (a)    awarding liquidated damages equal to the amount of all unpaid compensation;

      (b)    awarding Plaintiff’s reasonable attorney’s fees and costs incurred as a result of
Defendant’s violation of the Fair Labor Standards Act; and

       (c)    for such additional relief the Court deems appropriate under the circumstances.




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                                          COUNT IV

                    SUPPLEMENTAL STATE LAW CLAIM
              VIOLATION OF THE ILLINOIS MINIMUM WAGE LAW

       1-20. Paragraphs 1 through 20 of Count III are re-alleged and incorporated as though

set forth fully herein as Paragraphs 1 through 20 of this Count IV.

       21. As described in the foregoing paragraphs, Defendant’s compensation policies and
practices are in violation of the Illinois Minimum Wage Law, 820 ILCS §115/1 et seq.

       22. The Illinois Minimum Wage Law provides that an employer who fails to pay the

required amount of wages due an employee under the law shall be liable to the underpaid

employee or employees for the unpaid wages and for an additional penalty in the amount of

2% of the amount of such underpayments for each month following the date such

underpayments remain unpaid.

       23. Defendant’s failure to pay compensation as described above, has been willful

and/or in bad faith.

       WHEREFORE, Plaintiff, on behalf of themselves and all other Plaintiffs similarly

situated, known and unknown, respectfully requests this Court to enter an order:


       (a)     declaring and decreeing Defendant’s compensation practices as described
herein, and such other violations which may come to light during the prosecution of this
matter, in violation of the provisions of the Illinois Minimum Wage Law;

        (b)    awarding an amount of damages, to be shown by the evidence, to which
Plaintiff and other members of the Plaintiff Class are entitled;

       (c)   allowing this Court to retain jurisdiction of the case until such time it is assured
Defendant have remedied the compensation policies and practices complained of herein and
are determined to be in full compliance with the law;




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         (d)   directing Defendant to pay to Plaintiff’s reasonable attorney’s fees, costs, and
litigation expenses, as provided by statute;

      (e)    for such additional relief the Court deems just and appropriate under the
circumstances.



                                         COUNT V
                   SUPPLEMENTAL MUNICIPAL CLAIM
         VIOLATION OF THE CHICAGO MINIMUM WAGE ORDINANCE


       1-23. Paragraphs 1 through 23 of Count IV are re-alleged and incorporated as though

set forth fully herein as Paragraphs 1 through 23 of this Count V.

       24.    Plaintiff, and members of the Plaintiff Class, was an “employee” under the

CMWO§ 1-24-10 of the Municipal Code of Chicago and was not exempt from the overtime

wage provisions of the CMWO § 1-24-050.

       25.    Defendant was each an “employer” as defined in the CMWO§ 1-24-10.

       26.    Under § 1-24-040, for all weeks during which Plaintiff and members of the

Plaintiff Class worked more than forty (40) hours, she was entitled to be compensated at a

rate of one and one-half times her regular hourly rate of pay.

       27.    Defendant’s failure and refusal to pay any overtime wages for hours worked in

excess of 40 per week was a violation of the maximum hour provisions of the § 1-24-040.
       WHEREFORE, Plaintiff, on behalf of themselves and all other Plaintiffs similarly

situated, known and unknown, respectfully requests this Court to enter an order:


        (a)   Judgment in the amount of unpaid overtime compensation found due at the
rate of one and one-half times Plaintiff’s regular hourly rate of pay for all hours which
Plaintiff and members of the Plaintiff Class worked in excess of forty (40) hours per week;

       (b)    Statutory interest damages in the amount of three times the amount of unpaid
overtime;

       (c).   Reasonable attorneys’ fees and costs incurred in filing and prosecuting this
action; and


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  (d)   Such other and further relief as this Court deems appropriate and just.


                                            Respectfully submitted,

                                            Electronically Filed 08/22/2018

                                            /s/ John W. Billhorn
                                            ___________________________
                                            John William Billhorn

                                            Attorney for Plaintiff, and all other
                                            Plaintiffs similarly situated, known or
                                            unknown.


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